            Case MDL No. 2814 Document 406 Filed 12/03/21 Page 1 of 1




                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


In re: FORD MOTOR COMPANY DPS6
POWERSHIFT TRANSMISSION PRODUCTS                                     MDL NO. 2814
LIABILITY LITIGATION


                    NOTICE OF POTENTIAL TAG-ALONG ACTIONS

       Pursuant to J.P.M.L. Rule 7.1(a), the party-plaintiffs in two pending actions as identified

in the Schedule of Actions, below, hereby notify the Panel of their potential tag-along actions. The

docket sheet and Complaints for these cases are attached as Exhibits 1 and 2.


                                              Respectfully submitted,
                                              WELLS LAW OFFICE, INC.
                                              BY: /s/ Amy L. Wells
                                              AMY L. WELLS, Ohio Bar No. 0078247
                                              201 N. Garland Ct., 2908
                                              Chicago, IL 60601
                                              (773) 762-9104
                                              attorneyamywells@gmail.coms


                                              STERN LAW, PLLC
                                              BY:/s/ Kenneth A. Stern
                                              KENNETH A. STERN
                                              Pro Hac Vice in District Courts - to be filed
                                              41850 W. Eleven Mile Road, Suite 121
                                              Novi, MI 48375-1857
                                              (248) 347-7315
                                              ken@sternlawonline.com

                                              Counsel for Party-Plaintiffs Ljubomir Spasovski
                                                    and Debra Schweizer




                                                 1
